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 1   Thomas L. Laughlin, IV (admitted pro hac vice)
     SCOTT+SCOTT ATTORNEYS AT LAW LLP
 2   Rhiana L. Swartz (pro hac vice forthcoming)
     Jonathan M. Zimmerman (pro hac vice forthcoming)
 3   The Helmsley Building
     230 Park Avenue, 17th Floor
 4   New York, NY 10169
     Telephone: 212-233-6444
 5   Facsimile: 212-233-6334
     tlaughlin@scott-scott.com
 6   rswartz@scott-scott.com
     jzimmerman@scott-scott.com
 7
     Attorneys for Lead Plaintiff Movants
 8   Justin McMichael and Vincenzo Casola
 9   [Additional Counsel on Signature Page.]
10
                                 UNITED STATES DISTRICT COURT
11
                              NORTHERN DISTRICT OF CALIFORNIA
12
     DONALD RAMSEY, Individually and on                  Case No. 3:21-cv-05634-VC
13   Behalf of All Others Similarly Situated,
14                                Plaintiffs,
                                         JUSTIN MCMICHAEL AND
                                         VINCENZO CASOLA’S REPLY IN
15         v.                            FURTHER SUPPORT OF THEIR
                                         MOTION TO APPOINT LEAD
16   COINBASE GLOBAL, INC., BRIAN        PLAINTIFF AND LEAD COUNSEL;
     ARMSTRONG, ALESIA J. HAAS, JENNIFER AND, IN THE ALTERNATIVE,
17   N. JONES, SUROJIT CHATTERJEE, PAUL  REQUEST FOR LIMITED DISCOVERY
     GREWAL, MARC L. ANDREESSEN,
18   FREDERICK ERNEST EHRSAM III,
     KATHRYN HAUN, KELLY KRAMER,         Judge: Hon. Vince Chhabria
19   GOKUL RAJARAM, FRED WILSON, AH      Date: October 28, 2021
     CAPITAL MANAGEMENT LLC,             Time: 2:00 p.m.
20   PARADIGM FUND LP, RIBBIT            Dept.: 4, 17th Floor
     MANAGEMENT COMPANY, LLC, TIGER
21   GLOBAL MANAGEMENT, LLC, UNION
     SQUARE VENTURES, LLC, and VISERION
22   INVESTMENT PTE LTD.
23                                Defendants.
24   Caption continued on following page.
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        JUSTIN MCMICHAEL AND VINCENZO CASOLA’S REPLY IN FURTHER SUPPORT OF THEIR MOTION TO APPOINT LEAD
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 1
     GABBY KLEIN, Individually and on Behalf of          Case No. 4:21-cv-06049-VC
 2   All Others Similarly Situated,
 3                                Plaintiffs,
 4          v.
 5   COINBASE GLOBAL, INC., BRIAN
     ARMSTRONG, ALESIA J. HAAS, JENNIFER
 6   N. JONES, SUROJIT CHATTERJEE, PAUL
     GREWAL, MARC L. ANDREESSEN,
 7   FREDERICK ERNEST EHRSAM III,
     KATHRYN HAUN, KELLY KRAMER,
 8   GOKUL RAJARAM, and FRED WILSON,
 9                                  Defendants.
10
     MATTHEW CATTERLIN, Individually and                 Case No. 4:21-cv-06149-VC
11   on Behalf of All Others Similarly Situated,
12                                 Plaintiff,
13          v.
14   COINBASE GLOBAL, INC., BRIAN
     ARMSTRONG, SUROJIT CHATTERJEE,
15   PAUL GREWAL, ALESIA HAAS, MARC
     ANDREESSEN, FREDERICK ERNEST
16   EHRSAM III, KATHRYN HAUN, KELLY
     KRAMER, GOKUL RAJARAM, FRED
17   WILSON, AH CAPITAL, LLC, PARADIGM
     FUND LP, RIBBIT MANAGEMENT
18   COMPANY, LLC, TIGER GLOBAL
     MANAGEMENT, LLC, UNION SQUARE
19   VENTURES, LLC, and VISERION
     INVESTMENT PTE LTD,
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                                    Defendants.
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 1                                    SUMMARY OF ARGUMENT

 2           The PSLRA and the Ninth Circuit have set a straightforward test for determining the most

 3   “appropriate” movant for appointment as lead plaintiff. First, the Court must determine which

 4   movant has the largest financial interest; and second, the Court appoints that movant as long as it

 5   is otherwise adequate and typical within the meaning of Rule 23.             See 15 U.S.C. §77z-

 6   1(a)(3)(B)(iii)(I)(bb); In re Cavanaugh, 306 F.3d 726, 730 (9th Cir. 2002). Under this test, lead

 7   plaintiff Movants Justin McMichael and Vincenzo Casola (“McMichael & Casola”) should be

 8   appointed. The only movant with a larger loss is Yu. Yu filed conflicting motions and sworn

 9   statements with this Court, and she failed to credibly explain herself or demonstrate that she can

10   supervise the progression of this action or her counsel. She is therefore clearly inadequate to lead

11   this case.

12           McMichael & Casola should be appointed because they suffered the next largest loss

13   (McMichael alone suffered more than any other individual) and because they are adequate and

14   typical. The attack by competing movants on McMichael & Casola’s asserted financial interest

15   based on loss causation concepts is misguided and not applicable to the Securities Act claims

16   brought in this case. This case does not bring claims under the Securities Exchange Act of 1934

17   (the “Exchange Act”), which includes a loss causation element. Rather, the Securities Act sets

18   forth a straightforward calculation of an investor’s damages and, under that statutory test,

19   McMichael & Casola’s claimed losses are all recoverable. 15 U.S.C. §77k(e)(2). Thus, based on

20   a review of the “four corners of the complaint,” McMichael & Casola have the largest loss. While

21   Defendants have an affirmative defense of “negative causation,” that defense cannot be assessed

22   at the lead plaintiff stage because it is both fact and expert intensive and can only be developed

23   through discovery. Thus, this Court should not accept the invitation of the competing movants to

24   engage in a merits inquiry into that issue, particularly since negative causation is not a unique

25   defense; but, rather, a defense that the entire class will have to face to prove damages. At least

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 1   one court in this District has recently reached a similar conclusion. See In re Lyft Sec. Litig., No.

 2   19-CV-02690-HSG, 2020 WL 1043628, at **4-5 (N.D. Cal. Mar. 4, 2020).1

 3            McMichael & Casola are also a proper grouping under this Court’s precedent and that of

 4   many other courts. McMichael & Casola sufficiently demonstrated their cohesion and their ability

 5   to work together with a Joint Declaration. E.g., In. re Aqua Metals Sec. Litig., No. 4:17-cv-07142,

 6   2018 WL 4860188, at *4 (N.D. Cal. May 23, 2018); ECF No. 46-5 (Joint Declaration). As this

 7   Court has noted, aggregation “is something that some courts allow all the time[.]” Transcript of

 8   Lead Plaintiff Hearing in In re Vaxart Sec. Litig., No. C 20-05949-VC (N.D. Cal.) (hereinafter

 9   “Vaxart Tr.”), annexed to the Supplemental Declaration of Thomas L. Laughlin, IV (the “Laughlin

10   Supp. Decl.”) as Ex. 1. This is particularly true where, as here, a member of the group has the

11   largest loss of any individual movant.

12            With statutory losses of $801,973, McMichael & Casola are the presumptive lead plaintiffs,

13   and that presumption has not been rebutted. Therefore, McMichael & Casola should be appointed

14   lead plaintiff.

15                                               ARGUMENT

16       I.   McMichael & Casola Have the Largest Loss of Any Adequate Movant

17                 A.      Yu Is Not the “Most Adequate Plaintiff” Due to Her Conflicting Motions

18            Yu filed two conflicting lead plaintiff motions in this case, seeking appointment of two

19   different movants (herself alone and a group including her) and two different law firms. This is a

20   major mistake that demonstrates that Yu is not properly engaged with this matter and not able to

21   effectively communicate with counsel. As many courts have held, the filing of dueling lead

22   plaintiff motions and inaccurate trading data is disqualifing because engagement, supervision, and

23   effective communication with counsel are what is most needed in a lead plaintiff and what Rule

24   23 demands. See generally ECF No. 63 at 6-9 (McMichael & Casola’s Opp., hereinafter “Opp.”).

25   Furthermore, Yu’s two statutory certifications directly conflicted with each other, see ECF No. 63

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              Unless otherwise noted, all citations are omitted and emphasis is added.
28                                                      2
          JUSTIN MCMICHAEL AND VINCENZO CASOLA’S REPLY IN FURTHER SUPPORT OF THEIR MOTION TO APPOINT LEAD
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 1   at 9-10, and her supplemental declaration offers no explanation for this contradiction whatsoever,

 2   see ECF No. 57.

 3               B.      Yu’s Legal Precedent Is Inapt and Her Explanation for the Dueling
                         Motions Is Insufficient
 4

 5          Yu argues that the filing of a dueling lead plaintiff motions is not disqualifying, but a

 6   review of the decisions cited by her lends further support to the opposite conclusion because Yu

 7   could not find a single decision that actually addressed the adequacy of a movant who filed two

 8   lead plaintiff motions and found that movant to be adequate. Yu Opp. (ECF No. 62) at 6. By

 9   contrast, there are three decisions rejecting such movants, including a recent decision from this

10   District, and many decisions rejecting movants who made other serious errors in their lead plaintiff

11   motions. See, e.g., Pardi v. Tricida, No. 21-CV-00076, 2021 WL 1381271, *2 (N.D. Cal. Apr. 2,

12   2021); Tsirekidze v. Syntax-Brillan Corp., No. 07-CV-2204, 2008 WL 942273, *5 (D. Ariz. April

13   7, 2008); Singer v. Nicor Inc., No. 02-CV-5168, 2002 WL 31356419, *2 (N.D. Il. Oct. 17, 2002);

14   Opp. at 6-7 (collecting cases on errors in lead plaintiff papers). There is also a long-standing

15   practice of plaintiffs’ counsel acknowledging the inadequacy of a twice-filing movant by

16   withdrawing both motions. Id. at 7. Thus, the totality of authority before the Court clearly holds

17   that filing dueling lead plaintiff motions falls below a widely held consensus as to the standard of

18   conduct for an adequate plaintiff and is disqualifying.

19          The two lead decisions cited by Yu, Subramanian v. Watford, No. 20-cv-02652, 2021 WL

20   1697147 (D. Colo. Apr. 19, 2020), and Cullinan v. Cemtrex, Inc., 287 F. Supp. 3d 277 (E.D.N.Y.

21   2018), do not address the adequacy of a twice-filing movant. Rather, both decisions appointed

22   groups of individuals as lead where one member of the group that was ultimately appointed had

23   also been listed as part of another group initially. Subramanian, ECF Nos. 20 & 26; Cullinan at

24   282 n.9. Accordingly, both of these decisions are factually distinguishable because they involved

25   groups, not a single inadequate twice-filing movant upon whom the class would depend. More

26   importantly, neither decision considers the issues here; the lead plaintiff motions were resolved on

27   other grounds. In Subramanian, the court did not address the duplicate motions issue and it appears

28                                                    3
        JUSTIN MCMICHAEL AND VINCENZO CASOLA’S REPLY IN FURTHER SUPPORT OF THEIR MOTION TO APPOINT LEAD
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 1   the issue was not before the Court. See generally Subramanian, 2021 WL 1697147. Similarly, in

 2   Cullinan, while the court did refer to the duplicate motions, it did not consider whether that fact

 3   rendered the duplicative movant inadequate. Cullinan, 287 F. Supp. 3d at 282. Similarly, in In re

 4   Altisource Portfolio Solutions Sec. Litig., the appointment was unopposed and the issue of the

 5   duplicative movant’s adequacy was therefore not contested. No. 14-cv-81156 (S.D. Fla.), ECF

 6   Nos. 18 (noting motion was unopposed) & 24 (Order).

 7          The other two decisions cited by Yu are easily distinguishable and are also from outside

 8   this Circuit. In Reitan v. China Mobile Games & Ent. Grp., Ltd., the duplicative movants were

 9   not the same; two different funds made motions. 68 F. Supp. 3d 390, 400 (S.D.N.Y. 2014). The

10   court found that “the two funds are distinct legal entities” and therefore it was “not surprising” that

11   each had its own counsel and made its own motion. Id., at 400. This is clearly not the case here

12   where one person, Yu, sought to be appointed alone and also with another investor. Khunt v.

13   Alibaba Grp. Holding Ltd. similarly dealt with two different legal entities, an individual and a

14   related company. 102 F. Supp. 3d 523, 529 (S.D.N.Y. 2015). The two movants were not

15   duplicative, they had separate trades and losses and the two motions were made because of a

16   reasoned decision by the movants. Id., at 532 & 537.

17          Accordingly, the law does not support Yu’s position. Indeed, a decision holding her

18   adequate despite the dueling filings and certification errors would break new ground in lowering

19   the bar for movants’ conduct.

20          Yu’s factual explanation for her two motions is just as flawed because it confirms that there

21   are no special circumstances here that led to the filings; this is just the typical case where a movant

22   – even with the aid of counsel – was unable to develop a sufficient understanding of the

23   proceedings and filings. Yu admits she was provided with very similar class action complaints

24   arising out of Coinbase’s Offering and that she was in communication with two sets of lawyers

25   regarding those complaints. ECF No. 57 at ¶¶2-8. Yet somehow, she was not able to discern that

26   these complaints were related and did not raise the issue with her counsel. Id. at ¶¶4-7. Further,

27   her counsel was not able to provide her with a sufficient understanding of the proceedings or the

28                                                     4
        JUSTIN MCMICHAEL AND VINCENZO CASOLA’S REPLY IN FURTHER SUPPORT OF THEIR MOTION TO APPOINT LEAD
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 1   significance of the lead plaintiff motions. Id. Due to these issues, Yu claims she mistakenly

 2   believed she was seeking to prosecute two separate, but substantially similar, class actions in the

 3   same Court. Id. at ¶7. These admitted facts establish a lack of adequacy, a disqualifying inability

 4   to manage counsel and understand the proceedings. Tsirekidze, 2008 WL 942273, at *5.

 5          Yu’s explanation also suffers from credibility issues because it appear to be a stock lawyer-

 6   drafted excuse. Yu’s counsel in this matter submitted similar declarations in the Subramanian and

 7   Cullinan cases. In each case, the member of the group who had also moved as part of another

 8   group’s motion submitted a declaration providing those courts the exact same explanation as is

 9   offered here for the movant’s mistake; that is, that the movant “mistakenly believed” that the other

10   law firm was working on a different lawsuit than the one for which the movant had retained Levi

11   & Korsinsky. Compare ECF No. 57 at ¶3 (“I was not aware that this was the same lawsuit being

12   investigated by Levi & Korsinsky and mistakenly believed it was a separate matter.”) with

13   Subramanian, ECF No. 30-3 at ¶6 (“I mistakenly believed that Portnoy was investigating a

14   different lawsuit than the one I had retained Levi & Korsinsky for”); Cullinan, ECF No. 27-2 at

15   ¶¶7-8 (“I mistakenly believed that Goldberg was investigating a different lawsuit than the one I

16   had retained [Levi & Korsinsky] for”) (these declarations are annexed to the Laughlin Supp. Decl.

17   as Exs. 2-3). Similarly, in Subramanian, less than a year ago, the duplicative movant also

18   specifically stated, like Yu, that this mistaken belief was “because there were two separate

19   complaints filed against [the company] with two different case captions.” Compare ECF No. 57

20   at ¶7 (“The complaint sent to me by WeissLaw was not the same complaint I received from Levi

21   & Korsinsky.”) with Subramanian, ECF No. 30-3. Like Yu, both these movants also attested that

22   they signed a certification with the other firm (in addition to Levi & Korsinsky) “to increase my

23   chances of recuperating my losses.” Compare ECF No. 57 at ¶7 with Subramanian, ECF No. 30-

24   3 at ¶6; Cullinan, ECF No. 27-2 at ¶7.

25          Finally, Yu has still failed to address why she is adequate not withstanding her incorrect

26   certification or the other questions concerning her motion. See ECF No. 60 at 11.

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        JUSTIN MCMICHAEL AND VINCENZO CASOLA’S REPLY IN FURTHER SUPPORT OF THEIR MOTION TO APPOINT LEAD
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      II.   The Arguments By the Competing Movants as to McMichael & Casola’s Loss and
 1          Adequacy Are Unavailing
 2               C.      McMichael & Casola’s Loss Is All Recognizable for Lead Plaintiff
                         Determination Purposes
 3

 4          Competing movants Wright and Flynn incorrectly argue that McMichael & Casola do not

 5   have the next largest financial interest after Yu because they sold the majority of their Coinbase

 6   shares the day before May 18, 2021. See ECF No. 61 at 7-9 (Flynn Opp.) & 60 at 6 (Wright Opp.);

 7   see also Compl. (ECF No. 8) ¶¶53-56. This argument is in conflict with the Securities Act, which

 8   dicates a straightforward calculation of damages and does not include a loss causation element.

 9   Wright and Flynn mistakenly seek to apply the loss causation element of Section 10b (Exchange

10   Act) claims to this Section 11 (Securities Act) case even though the two statutes set up completely

11   different damages schemes.

12          Under Section 11(e)(2), McMichael & Casola “may recover such damages as shall

13   represent the difference between the amount paid for the security (not exceeding the price at which

14   the security was offered to the public) and [ ] the price at which such security shall have been

15   disposed of in the market before suit.” 15 U.S.C. §77k(e)(2). This loss is presumed because

16   §11(e) also makes the absence of loss causation, also known as “negative causation,” an

17   affirmative defense that Defendants must prove to reduce or avoid liability under §11. Id.; In re

18   Worlds of Wonder Sec. Litig., 35 F.3d 1407, 1422 (9th Cir.1994), cert. denied sub. nom. Miller v.

19   Pezzani, 516 U.S. 868 (1995); Akerman v. Oryx Commc’ns Inc., 810 F.2d 336, 341 (2d Cir. 1987);

20   Levine v. AtriCure, Inc., 508 F. Supp. 2d 268, 272 (S.D.N.Y. 2007) (“Loss causation (i.e. a causal

21   connection between the material misrepresentation or omission and plaintiff’s loss) is not an

22   element of a §11 claim under the Securities Act.”). Thus, the damages calculation under the

23   Securities Act is totally different from the calculation under the Exchange Act, which requires

24   plaintiffs to plead and prove loss causation. Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 342

25   (2005) (loss causation is a required element of a §10(b) claim). Following §11(e)’s straightforward

26   formula, McMichael & Casola have damages of approximately $801,973. ECF No. 46-6. For this

27   reason, the decisions cited by Flynn and Wright concerning the calculation of damages in the

28                                                    6
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 1   context of Exchange Act claims are entirely inapt.2 McMichael and Casola’s recoverable damages

 2   on their Securities Act claim is $801,973, greater than any competing movant’s recoverable losses.

 3                 D.      Negative Causation Is Not Appropriately Considered at the Lead Plaintiff
                           Stage, and Is Not a Unique Defense Here
 4

 5            Wright and Flynn also argue McMichael & Casola’s sales before May 18, 2021 subject

 6   them to a “unique defense” of “negative causation” that renders them atypical. “Negative

 7   causation” requires Defendants to show “that the depreciation in value of a plaintiff’s stock

 8   resulted from factors other than the alleged material misstatement.” Lyft at *5 (citing Hildes v.

 9   Arthur Andersen LLP, 734 F.3d 854, 860 (9th Cir. 2013)). It is therefore for Defendants to prove

10   that the misstatements alleged in the complaint did not cause the losses that have been suffered by

11   purchasers in Coinbase’s Offering.

12            To disqualify McMichael & Casola on this basis is an overreach. Whether Defendants can

13   meet their burden on “negative causation” as to the May 18, 2021 stock drop, or any other stock

14   drop, is a highly fact-intensive inquiry and generally not appropriate until summary judgment or

15   trial. Levine, 508 F. Supp. 2d at 272-73. The only court in this District to address this issue

16   rejected the argument made by Wright and Flynn. In In re Lyft Sec. Litig., Judge Gilliam “[did]

17   not find that the potential application of [a negative causation] defense down the road” made the

18   movant atypical or inadequate for purposes of choosing a lead plaintiff. 2020 WL 1043628, at *6

19   (refusing to use “a retained shares method in order to determine recoverable losses” in a Securities

20   Act case) (citing In re Lendingclub Sec. Litig., 282 F. Supp. 3d 1171, 1181 (N.D. Cal. 2017)

21   (certifying a Securities Act class and finding typicality despite lead plaintiff’s susceptibility to

22
     2
23            See, e.g., Sallustro v. CannaVest Corp., 93 F. Supp. 3d 265, 273 (S.D.N.Y. 2015) (“losses
     resulting from ‘in-and-out’ transactions, which took place during the class period, but before the
24   misconduct identified was ever revealed to the public are not to be included in loss calculations
     for purposes of selecting lead plaintiff”); Perlmutter v. Intuitive Surgical, Inc., No. 10-CV-03451-
25   LHK, 2011 WL 566814, at *4-6 (N.D. Cal. Feb. 15, 2011) (same). The following cases cited by
     Flynn and Wright are all Exchange Act cases: In re Comverse Tech., Inc. Sec. Litig., No. 06-CV-
26   1825, 2007 WL 680779, at *1 (E.D.N.Y. Mar. 2, 2007); Eichenholtz v. Verifone Holdings, Inc.,
     No. C07-06140-MHP, 2008 WL 3925289, at *2 (N.D. Cal. Aug. 22, 2008); In re Critical Path,
27   Inc. Sec. Litig., 156 F. Supp. 2d 1102, 1105 (N.D. Cal. 2001); In re Network Assocs., Inc., Sec.
     Litig., 76 F. Supp. 2d 1017, 1027 (N.D. Cal. 1999).
28                                                     7
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 1   negative causation defense); Levine, 508 F. Supp. 2d at 272-73 (negative causation is not generally

 2   established at lead plaintiff appointment stage)).

 3            In short, negative causation is a merits issue and an affirmative defense that should not be

 4   considered at the lead plaintiff stage because it cannot be properly evaluated at this time. Should

 5   Defendants seek to raise a negative causation defense against the class in this case, any lead

 6   plaintiff will put in evidence demonstrating that the facts allegedly concealed by the Defendants’

 7   misstatements tie to stock price drops that occurred between the Offering date and the date of the

 8   amended complaint.3 Whether Plaintiffs or Defendants ultimately prevail on these matters cannot

 9   be decided here. Lyft, 2020 WL 1043628, at *6. Relevant stock drops in this case include the

10   following, which all occurred before McMichael & Casola sold their stock:

11                On May 5, 2021, after the market closed, the Company announced that it would be
                   shutting down its San Francisco office, which suggested issues with earning a profit
12                 and touches on Coinbase’s impending but undisclosed need to raise capital. Laughlin
                   Supp. Decl., Ex. 4. On this news, the price of Coinbase stock fell 5.95% on May 6,
13                 2021.4

14                On May 13, 2021, after the market closed, the Company announced its financial results
                   for the first quarter of 2021 on SEC Form 10-Q. Laughlin Supp. Decl., Ex. 5. This
15                 announcement included discussion of the impact of “unanticipated system
                   disruptions,” including that $192.6 million of the Company’s quarterly revenue was
16                 generated by having to sell its own assets during these disruptions rather than acting
                   merely as a market maker. Id., at 43. On this news, the price of Coinbase stock fell
17                 2.54% to close at $258.37 on May 14, 2021, down from its previous close of $265.10.

18                Coinbase also announced numerous service-related disruptions between May 11, 2021
                   and May 14, 2021, when the Company’s stock price declined a combined 14.73%. For
19                 example, after the markets closed on May 11, 2021, Coinbase announced it was
                   investigating issues affecting customers’ ability to trade certain digital currencies
20                 including Eosio (EOS) and Dfinity (ICP). Laughlin Supp. Decl., Exs. 6-7. According
                   to the Company, these issues persisted through and until May 12, 2021 and May 13,
21                 2021, respectively. Id. On this news, Coinbase stock’s price fell 6.40% on May 12,
                   2021, to close at $283.61 per share, and 6.53% on May 13, 2021, to close at $265.10
22                 per share. In addition, after the markets closed on May 13, 2021, Coinbase reported
                   issues with its ability to verify user IDs, signifying that customers were having
23                 difficulty accessing their accounts. Laughlin Supp Decl., Ex. 8. Again, the Company’s
                   shares fell on this news, closing down 2.54% on May 14, 2021.
24
     3
              Again, since this is a Securities Act case and not an Exchange Act case, plaintiff was not
25   required to plead all disclosures in the complaint. Both Plaintiffs and Defendants are free to
     address the merits of any future affirmative defense by analyzing relevant price movements and
26   news during the relevant time period.
     4
27            Yahoo Finance provides the Company’s historical stock price data to the public at
     https://finance.yahoo.com/quote/COIN/history?p=COIN.
28                                                      8
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 1            Furthermore, Flynn’s and Wright’s arguments fail because negative casuation is not a

 2   “unique defense,” as it affects the entire class, not just McMichael & Casola. As Judge Gilliam

 3   noted in Lyft, “There likely are many class members who sold shares prior to any partial disclosure

 4   or in between partial disclosures who are similarly susceptible to a negative loss causation

 5   defense.” Id., at *6. In sum, since Section 11 can be said to create a factual presumption that “any

 6   decline in value is [ ] caused by the misrepresentation in the registration statement,” McMichael

 7   & Casola’s statutory loss should be presumed for lead plaintiff purposes and no unique defense

 8   has been proven. Levine, 508 F. Supp. 2d at 272 (citing McMahan & Co. v. Wherehouse Entm’t,

 9   Inc., 65 F.3d 1044, 1048 (2d Cir. 1995)); Lyft at *4.5

10            Soe v. Progenity, Inc., No. 20-cv-01683, 2020 WL 7129365 (S.D. Cal. Dec. 3, 2020), cited

11   by Flynn, is unpersuasive and distinguishable. There is no reason for this Court to disregard the

12   Lyft decision decided in this District, which is directly on point. Further, unlike here, the movant

13   in Soe was apparently unable to point to any relevant drops that occurred while the movant held

14   his shares that could potentially substantiate his damages. Soe at *5. By contrast, in this case,

15   there are multiple relevant drops pre-dating McMichael & Casola’s sales that are relevant to

16   negative causation. See supra at 8.

17            Even in the context of the Exchange Act cases where loss causation is an element, a movant

18   need not hold through every stock drop in order to be typical. See Juliar v. Sunopta Inc., No. 08

19   CIV. 1070, 2009 WL 1955237, at *2 (S.D.N.Y. Jan. 30, 2009) (“where a putative lead plaintiff

20   sold all its shares after a partial disclosure of misconduct but before the final disclosure, that

21   putative lead plaintiff does not face unique defense of having to show loss causation to the extent

22   that it cannot serve as lead plaintiff”); Galmi v. Teva Pharms. Indus. Ltd., 302 F. Supp. 3d 485,

23   502 (D. Conn. 2017) (“So long as a partial disclosure can be plausibly alleged, a proposed lead

24   plaintiff should not be precluded from relying on that disclosure to establish recoverable losses”);

25   Ellenburg v. JA Solar Holdings Co. Ltd., 262 F.R.D. 262, 268 (S.D.N.Y. 2009) (“selling shares

26
     5
            To the extent Wright argues that other movants have “unique standing defenses” based on
27   the purchase date of their Coinbase securities, that issue is not present for McMichael & Casola
     who both purchased on April 14, 2021, the date of the Offering. See ECF No. 60 at 7.
28                                                    9
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 1   during the class period does not disqualify a class member from being appointed lead plaintiff”);

 2   see also Mulligan v. Impax Lab’ys, Inc., No. C-13-1037 EMC, 2013 WL 3354420, at *6 (N.D.

 3   Cal. July 2, 2013) (loss “calculations based on retained shares are not appropriate in cases where

 4   multiple partial corrective disclosures are alleged over time”). “[A] named plaintiffs representative

 5   claims are ‘typical’ if they are reasonably coextensive with those of absent class members; they

 6   need not be substantially identical.” Malriat v. QuantumScape Corp., No. 3:21-CV-00058-WHO,

 7   2021 WL 1550454, at *4 (N.D. Cal. Apr. 20, 2021) (citing B.K. by next friend Tinsley v. Snyder,

 8   922 F.3d 957, 969-70 (9th Cir. 2019))

 9                 E.      McMichael & Casola Are a Proper Group

10            McMichael & Casola are also not disqualified simply because they chose to move as a

11   group, which is a practice commonly permitted by courts in this District and others. See, e.g., In

12   re Versata, Inc. Sec. Litig., No. C 01-1439 SI, 2001 WL 34012374 (N.D. Cal. Aug. 20, 2001);

13   Varghese v. China Shenghuo Pharm. Holdings, Inc., 589 F. Supp. 2d 388, 392 (S.D.N.Y. 2008).

14   They have demonstrated that they are “cohesive” and able to work together for the good of the

15   class. See ECF No. 46-5. Moreover, they do not need to aggregate their losses in order to have

16   the largest financial interest – McMichael alone can claim this title with losses of over $539,000.6

17   ECF No. 46-6. This Court has specifically found similar groups preliminarily adequate for lead

18   plaintiff purposes. Vaxart Tr. at 11:4-25 (“[Grouping of unrelated class members] is something

19   that some courts allow all the time, other courts have a problem with, and in this case, one of the

20   two people has [ ] the largest loss . . . . Their motion is granted.”).

21                                              CONCLUSION

22            For the foregoing reasons as well as those set forth in their other moving papers,

23   McMichael & Casola respectfully request that the Court appoint them co-lead plaintiffs, appoint

24   Scott+Scott as lead counsel, and deny all competing motions.

25

26
     6
            Should the Court wish to only appoint a single individual as lead, McMichael & Casola
27   hereby consent to appointment of McMichael only as Lead Plaintiff, as the movant with the largest
     individual loss who is also adequate and typical.
28                                                   10
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 1   Dated: October 12, 2021              SCOTT+SCOTT ATTORNEYS AT LAW LLP

 2                                        s/ Thomas L. Laughlin, IV
                                          Thomas L. Laughlin, IV (admitted pro hac vice)
 3                                        Rhiana L. Swartz (pro hac vice forthcoming)
                                          Jonathan M. Zimmerman (pro hac vice forthcoming)
 4                                        The Helmsley Building
                                          230 Park Avenue, 17th Floor
 5                                        New York, NY 10169
                                          Telephone: 212-233-6444
 6                                        Facsimile: 212-233-6334
                                          tlaughlin@scott-scott.com
 7                                        rswartz@scott-scott.com
                                          jzimmerman@scott-scott.com
 8
                                          SCOTT+SCOTT ATTORNEYS AT LAW LLP
 9                                        John T. Jasnoch (CA 281605)
                                          600 W. Broadway, Suite 3300
10                                        San Diego, CA 92101
                                          Telephone: 619-233-4565
11                                        Facsimile: 619-233-0508
                                          jjasnoch@scott-scott.com
12
                                          Counsel for Movants McMichael and Casola and Proposed
13                                        Lead Counsel for the Class
14                                        THE SCHALL LAW FIRM
                                          Brian J. Schall (CA 290685)
15
                                          1880 Century Park E, Suite 404
16                                        Los Angeles, CA 90067-1604
                                          Telephone: 310-301-3335
17                                        Facsimile: 310-388-0192
                                          brian@schallfirm.com
18
                                          Additional Counsel for Vincenzo Casola
19

20

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on October 12, 2021, I caused the foregoing document to be filed with

 3   the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

 4   email addresses denoted on the Electronic Mail Notice List.

 5          Executed on October 12, 2021, at New York, New York.

 6

 7                                                              s/ Thomas L. Laughlin, IV
                                                               Thomas L. Laughlin, IV
 8                                                             (admitted pro hac vice)
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